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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

COUNTY OF BUTLER, et al., : Civil Action No. 2:20-cv-677
Plaintiffs :
Hon. William §. Stickman IV
VS.
THOMAS W. WOLF, et al.,
Defendants
AFFIDAVIT
COMMONWEALTH OF PENNSYLVANIA

ss.
COUNTY OF MERCER

My name is Timothy R. Bonner and I am a resident of Mercer County, Pennsylvania. I
am currently serving my first term as Representative for District 8 in the Pennsylvania House of
Representatives. I was elected in a special election on March 17, 2020 and serve parts of Butler
County and Mercer County. At no point have I or any employee in my office tested positive or
shown any symptoms of COVID-19. In mid-January, 2020, my election team began preparing
for my campaigns for 2020. I ran in the special election on March 17, 2020 and the primary
election on June 2". I will also run in the general election on November 3". Typical activities
planned for this campaign included fundraisers, attending dinners, meet and greets, and
disseminating political flyers and pamphlets door to door. It was during the March campaign
time that I became aware of Governor Wolf’s shutdown orders mandating that all non-essential
private businesses immediately cease operations as well as mandating that healthy people remain

in their homes with limited exceptions. These shutdown orders severely impacted my ability to

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effectively campaign and thus to exercise our rights of assembly, association and freedom of
speech related to the campaign.

The Governor’s shutdown orders effectively prevented in interaction with voters of my
district. It is critical for political candidates to be able to personally interact with their voter base.
It allows for a more effective communication of political ideals and allows voters to voice their
policy concerns to the candidates before the election. Yet this necessary interaction was
prohibited by the shutdown orders set forth by Governor Wolf.

All of our door to door operations had to be stopped as we were prevented from both
soliciting volunteers and campaigning door to door. We were also prevented from holding
fundraisers and attending dinners. The Governor’s orders have also made it difficult to seek
volunteers.

The campaign has also been unfairly impacted by the shutdown orders as my District is
comprised of two (2) adjacent counties that were placed under different designations during the
phased reopening plan.

The disparate treatment of Butler and Mercer Counties was, in my opinion,
unsubstantiated by the circumstances. Grove City, in Mercer County, and Harrisville, in Butler
County, are approximately seven (7) miles apart and had very similar circumstances regarding
the COVID-19 outbreaks but Harrisville and other Butler County parts of my District were
included with restrictions imposed on Allegheny and other counties simply because of county
boundaries,

I believe that my constitutional rights of assembly, free speech and association were
violated by the Governor and Secretary of Health as set forth in the Complaint filed by me in this
matter.

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I also believe that Butler and Mercer Counties were treated disparately and without
regard to the physical proximity of population centers within these counties. ] believe that the
Orders of the Governor and Secretary of Health in these regards violated my constitutional rights
and those same rights of my constituents.

In summation, the Governor’s orders made it nearly impossible to conduct an effective
campaign as personal contact with the voters was greatly affected, fundraising became

impossible and normal social settings to meet voters were all cancelled.

I verify that the statements made in the foregoing document are true and correct
to the best of my knowledge, information, and belief. I declare, certify, verify, or
state under penalty of perjury that the foregoing is true and correct, under 28
U.S.C. Section 1746, relating to unsworn declarations under penalty of perjury.

a a Bonner

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